Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 1 of 28




                             U N ITE D STA TES DISTRIC T C O U R T
                             SO U TH ER N DISTR IC T O F FLO R IDA

                               CaseNo.16-20893-CR-M O RENO (s)
                                        18U.S.C.j 1349
                                        18U.S.C.j1347
                                        18U.S.C.j371
                                        42 U.S.C.j1320a-7b(b)(1)(A)
                                        42U.S.C.j1320a-7b(b)(2)(B)
                                        18U.S.C.j1957(a)
                                        21U.S.C.j331(k)
                                        18U.S.C.j982(a)(7)
                                        18U.S.C.j982(a)(1)
                                        18U.S.C.j981(a)(1)(C)
  U NITED STA TES O F A M ER ICA

  Vs.

  M O N TY R AY G R O W and
  G IN GE R LA Y ,

                D efendants.


                                SU PER SED ING IN D ICTM EN T

         The Grand Jury charges that:

                                  G EN ER AL A LLEG A TIO N S

         Atalltim esm aterialto this Superseding lndictm ent:

                Tricare w as a health care insurance prop um of the U nited States D epartm entof

  Defense. Tricarem ovided civilian health benetits for m ilitary personnel, m ilitary retirees,and

  m ilitary dependents w orldw ide. The Tricare program provided m edicalcoverage for Uniform ed

  Selwice m em bers including those who w ere active duty and reservists that w ere a partof the

  follow ing'
            . U .S. A rm y, U .S. A ir Force, U .S. N avy, U .S. M arine Corps, U .S. Coast Guard,

  Com m issioned Corpsofthe U .S.Public H ealth Service, and Com m issioned Corpsofthe N ational

  Oceanic and A tm ospheric A ssociation,N ational Guard/Reserve, A nny N ational Guard,A rm y
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 2 of 28



   Reserve,Navy Reserve,M arineCorpsReserve, AirNationalGuard,AirForceReselwe, and U .S.

  CoastG uard Resel'
                   ve and their fam ilies. This program also covered survivors, form er spouses,

  M edal of H onor recipients and their fam ilies, and others registered in the Defense Enrollm ent

  EligibilityReportingSystem (DEERS).
                 ThereweretwotypesofbeneficiariesundertheTricareprogram :(a)Sponsors-
  active duty,retired and Guard/Resel'
                                     ve m em bers, and(b)FamilyM embers-spousesandchildren

  who w ere registered in D EERS.

                 ln orderto pay a claim ,Tricare required thatthe item orservice being billed m ust

  be m edically necessary,properly prescribed by a licensed physician and actually provided to a

  Tricare beneficiary. Tricare required healthcare providers to collect co paym ents unless
                                                                                -




  specifically excepted by law orregulation ancillary to theprovision ofitem sorservices. Requiring

  beneficiaries to pay for part of the selwices they receive discourages patients from accepting

  servicesthey do notneed. ltisunlaw fulto routinely w aive co-paym ents underany federalhealth

  insurance prop am ,including Tricare. The U .S.D epartm ent of Health and Hum an Selwices has

  concluded thatreducing co-paym entsforbeneficiariesofgovernm enthealthcare program s, absent

  a showing of financialhardship,violates the federal anti-kickback statute. A dditionally,a co-

  paym ent waiver based on a failure to collect is prohibited if it is notpreceded by a good faith

  collection effort.

                 Tricare w as a health care benefit program as defined by Title 18, United States

  Code,Section 24(b),anda EtFederalhealth careprogram,''asdetined in Title42, United States
  Code,Section 1320a-7b.

         5.      Tricare contracted w ith Express Scripts, Incorporated (ESl) to administer the

 prescription dnlg plan ofthe Tricareprogram , including the processing and paym entofclaim s.
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 3 of 28



                 Phannacy compounding wasapractice in which a licensed pharm acist, a licensed

  physician,or,in the case ofan outsourcing facility, a person under the supervision of a licensed

  pharm acist,combined,m ixed,oraltered ingredientsofa dnzgto create a m edication tailored to

  the needs ofan individualpatient.

                 Tricare had strict regulations regarding the use of telem edicine as a m ethod of

  treating Tricarepatients. Tricaredid notconsidertelem edicine asubstitute forfaceto facehealth

  care exceptin certain lim ited situations. One proper use ofa telem edicine episode w asw hen the

  patientcould notm eeta m edicalprofessionalface to face because they w ere in a rem ote location.

  A nother proper use of a telem edicine episode w as a situation in which there w as a need for

  continuity ofcare w ith a specific m edicalprofessional. In addition,the originating site w herc the

  beneficiary w as located for the telem edicine episode m ust be a location w here an authorized

  Tricare provider nonnally provided m edical services to Tricare beneticiaries. A patient's hom e

  w asnotaproperoriginating siteforapropertelem edicine episode. A propertelem edicine episode

  of care m ust utilize som e form of video technology in w hich the patient and the m edical

  professionalcould see each other and interactw ith each other.

         8.     UnderFloridaStatutej465.023(1)(h),drugsmayonlybeprescribedpursuanttoa
  valid practitioner-patientrelationship that included a docum ented patient evaluation, including

  history and physical exam ination adequate to establish a diagnosis fo< w hich the drug w as

 prescribed.

         9.     Flurbiprofen and Loperam ide w ere ttdrugs''w ithin the m eaning ofTitle 21, United

 StatesCode,Section321(g)(1)andwerettprescriptiondrugs''asdefinedinTitle2l, United States
 Code, Section 353(b)(1) and could lawfully be dispensed only upon the prescription of a
 practitionerlicensed by law to adm inistersuch drugs.
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 4 of 28



          10.    Pursuantto Title 21, UnitedStatesCode,Section 353(b)(1),theactofdispensinga

  prescription drug withouta valid prescription was deem ed to be an actthatresulted in the dnlg

  being m isbranded while held for sale.

                    The D efendants.Related C om panies and R elevantPerson

                 M GTEN M arketing G roup, lnc. (M GTEN),located at4110 W .Sevilla Street,

  Tam pa,Florida,w asa colporation organized underthe law s ofthe State ofFlorida.

                 M ED RX SA LES,LLC . w asa lim ited liability com pany organized underthe law s

  ofthe State ofM ississippi.

                 M ED RX , IN C. w as a corporation organized under the law s of the State of

  Tennessee.

                 Com pany 1 w as a corporation organized under the law s of the State of Florida
                                                                                                  ,

  with itsprincipalplace ofbusiness located in Broward County, Florida thatpurportedly created

  and dispenscd prescription com pounded m edicationsto Tricare beneficiaries.

                Robin H alliburton wasa residentofSt. Jolm 's County,Florida.

         16.    Defendant M O NTY R AY G R O W , a resident of Hillsborough County, Florida,

  w asthe sole corporate officerofM G TEN .

                D efendantG IN G ER LA Y ,a residentofD esoto County, M ississippi,w asthe sole

  corporate officerofM ED RX Sales, LLC .and M ED ItX ,lnc. (collectively,M ED RX).

                                          CO UN T 1
                  Conspiracy to C om m itH eaIth C are Fraud and W ire Fraud
                                           (18 U.S.C.1 1349)
                The G eneralA llegations section ofthis Superseding Indictm entisre alleged and
                                                                                  -




 incorporated by reference as though fully setforth herein.




                                                  4
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 5 of 28



          2.     From in oraround July, 2014,through in oraround June 2015,in M iam i-Dadeand
                                                                          ,

   Brow ard Counties, in the Southern D istlictofFlorida, and elsew here,the defendants
                                                                                                ,

                                     M O N TY R A Y G RO W and
                                           G IN G ER LA Y ,
  did knowingly, that is, with the intentto furt
                                               her the objects ofthe conspiracy, and w illfully
  combine,conspire,confederate, and agree with each other, Robin Halliburton and others
                                                                                                    ,   known
  and unknow n to the G rand Jury, to com m itoffensesagainstthe U nited States thatis:
                                                                                   ,


                 to know ingly and w illfully execute a schem e and artitice to defraud a health care

  benefit program affecting com m erce, as defined in Title 18,United States Code
                                                                                           ,   Section 24(b),
  that is, Tlicare, and to obtain, by m eans of m aterially false and fraudulent pretenses
                                                                                          ,

  representations,and prom ises,m oney and property owned by, and underthe custody and control

  of,saidhealth carebcnetitprogram , in connection w ith the delivery ofand paym entforhealth care

  benefits,item s,and selwices, in violation ofTitle 18, United States Code Section 1347*
                                                                                        ,and
                                                                           ,

         b.     to knowingly and with theintentto defraud, devise and intend to devise a schem e

  and artifice to defraud and for obtaining m oney and property by m eans of m aterially false and

  fraudulentpretenses, representations,and prom ises, knowing the pretenses representations,and
                                                                               ,


 prom ises w ere false and fraudulentw hen m ade, and forthe purpose ofexecuting the schem e and

 artifice,did know ingly transm itand cause to be transm itted by m eans of wire com m unication in

 interstate com m erce, certain w ritings,signs, signals,pictures and sounds in violation ofTitle 18
                                                                           ,                               ,

 United States Code, Section 1343.

                              PUR PO SE O F TH E C O N SPIM CY

                ltw as a purpose ofthe conspiracy forthe defendants and their co conspirators to
                                                                                       .



 unlaw fully enlich them selvesby, amongotherthings:(a)submitting andcausingthesubmission

 offalseand fratldulentclaimsto Tricare;(b)concealingthesubmission offalseand fraudulent
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 6 of 28



   claimstoTricare;and(c)divertingfraudproceedsfortheirpersonaluseandbenefit, the useand
   benefitofothersand to furtherthe fraud.

                                     M A NN ER AN D M EA N S

          The m anner and m eans by w hich the defendants and their co conspirators sought to
                                                                           -




   accomplishtheobjectsandpurposeoftheconspiracyincluded, am ong otherthings:
                 M O N TY R AY G RO W offered and paid kickbacks to co conspirators,including
                                                                          -




  G IN GE R LA Y and Robin H alliburton, in exchange for recruiting Tricare beneficialies who

  agreed to orderand receive com pounded m edicationsfrom Company l, regardlessofw hetherthe

  beneficiariesneeded the compounded medications.

                 M O N TY R AY G R O W and G IN G ER LA Y offered and paid kickbacksto Tricare

  beneticiaries in exchange for Tricare beneticiaries' agreeing to order and receiv
                                                                                   e com pounded
  medications from Company 1 knowing thatmany ofthe Tricare beneticiaries did notnecd the

  com pounded m edications and plim arily agreed to order and receive them because ofthe offerof

  kickbacks and otherinducem ents.

         6.      M O N TY R AY G R O W and G IN G ER LA Y offered and paid kickbacksto Tricare

  beneficiaries to induce them to recruitother Tricare beneficiaries thatw ould agre
                                                                                    e to order and
  receive com pounded m edications from Com pany 1, know ing thatm any of the referred Tricare

  beneficiaries did notneed the com pounded m edications, butprim arily agreed to orderand receive

 them because ofthe offerofkickbacks and otherinducem ents.

                M O N TY R AY G RO W furtherinduced beneficiariesto agrce to orderand receive

 com pounded m edicationsfrom Com pany lby falsely representing the beneficiaries'obligation to

 pay copays forcompounded medicationsby:(a)telling beneficiaries thatthey could ignore
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 7 of 28



   Company 1'scopay invoicesbecauseCompany 1would notatte
                                                                    mptanycollectionaction;or(b)
   instructingpatientrecruitersthatthey could pay copayson thebenetk iaries'behalf
                                                                                       .



          8.     M O NTY RAY GROW sold compound ingredients to Co
                                                                 m pany 1, including
   Sterabase and Ethoxy diglycol, in orderto increase reim bursem entfrom Tricareby approxim at
                                                                                               ely
   $2,000to $4,000perprescription   .




          9.     M O N TY R AY G R O W and G IN G ER L AY transm itted pre plinted prescriptions
                                                                              -




   forexpensive compounded m edicationsto telem edicine companiesand paid them to ratify those

  prescriptions w ithoutregard to actualm edicalneed butinstead based on the
                                                                                  am ountoffinancial
  reim bursem entto Com pany lfrom Tricare.

          10.    M ON TY R AY G R O W and G IN G E R LA Y caused Com pany 1 to subm it false

  and fraudulentclaim sto Tlicare forcom pounded m edications thatwere induced by kickbacksand

  other incentives, designed for m axim um reim bursem ent by Tricare w ithout regard to actual

  therapeutic value and notproperly prescribed by a licensed m edicalprofessionalw ith a legitim ate

  physician-patientrelationship.

         11.    A s the result of these false and fraudulent claim s, Tricare m ade paym ents to

  Company lin theapproxim ateam ountof$40 m illion     .



                M O N TY R AY G RO W and G ING ER LA Y used the fraudproceedsreceived from

  Com pany 1 to benefitthem selvesand others and to furtherthe fraud.

         A l1in violation ofTitle 18, U nited States Code,Section 1349.

                                           C O U N TS 2-8
                                        H eaIth C are Fraud
                                        (18U.S.C.j1347)
                The G eneralA llegations section ofthis Superseding lndictm entis re alleged and
                                                                                       -



 incorporated by reference asthough fully setfol'
                                                th herein.
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 8 of 28



                 From in oraround July, 2014,through in oraround June 2015,in Broward County
                                                                       ,                           ,

   in the SouthenzDistrictofFlorida, and elsew here,the defendants

                                         M O N TY ILAY G RO W and
                                               G IN G ER LAY ,
  in connection with the delivery ofand paym entforhealth care benefits,item s,and services
                                                                                            ,   did
  knowingly and willfully execute, and attem ptto execute, aschem eandartifice to defrauda health

  care benefit program affecting com m erce, as defined by Title 18, U nited States Code Section
                                                                                        ,

  24(b),thatis,Tricare,and to obtain,by means ofmaterially false and fraudulentpretenses,
  representations,and promises,m oney and property owned by, and underthe custody and control

  of,said health care benefitprogram .


                               Purpose ofthe Schem e and A rtifice

                lt was the purpose of the schem e and artifice for the defendants and their

  accomplicesto unlawfully enrich them selvesby, amongotherthings:(a)submittingandcausing

  thesubmission offalse and fraudulentclaimsto Tricare;(b)concealing thesubmission offalse
  and fraudulentclaimsto health carebenefitprograms;(c)concealing thereceiptandtransferof
  fraudproceeds'
               ,and (d)diverting fraud proceedsfortheirpersonaluse and benefit, the use and
  benefitofothersand to furtherthe fraud.

                                    The Schem e and A rtifice

                M annerand M eanssection ofCountlofthisSuperseding lndictm entare re- alleged

 and incorporated by reference asthough fully setforth herein as a description ofthe schem e and

 artifice.

             A cts in Execution or A ttem pted Execution ofthe Schem e and A rtifice

                On or aboutthe dates setforth as to each countbelow , in Brow ard County in the
                                                                                        ,

 Southel'
        n D istrictofFlorida, and elsew here,the defendantidentified in each countin connection
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 9 of 28



   w ith the delivery ofand paym entforhealth care benefits item s,and services
                                                            ,                    ,   did know ingly and
   w illfully execute, and attem pt to execute, the above-described scheme and artifice to defraud

   health care benefitprogram s affecting comm elve, as defined by Title 18
                                                                             ,   United States Code,
   Section24(b),thatis,Tricare,andtoobtain, by m eansofm aterially falseand fraudulentpretenses
                                                                                                       ,

  representations,and prom ises, m oney and property ow ned by, and under the custody and control

  of,said health care benefitprogram s, in thatthe defendants identified subm itted and caused the

  submission offalseand fraudulentclaim sseeking the identified dollaramo
                                                                         unts,and representing
  that Com pany 1 provided com pounded m edications that w ere m edically ne
                                                                            cessary and properly
  prescribed asrequired by 1aw andby Tricareregulationsassetforth below:

   Count          D efendant        Tricare        A pprox. D ate      Rx N o.         ltem Claim ed
                                   Beneficiary     ofSubm ission                        and Approx.
                                                      ofClaim                             A m ount
     2         G IN G ER LA Y          P.S.          12/29/2014        105565           Flubiprofen
                and
                R A M ONTY                                                                 $7,316
                   Y GROW
     3        M O N TY G RO W          R .R .        1/28/2015         107365          Flurbiprofen
     4                                                                                      $7,316
               M O N TY R AY           J.B.          1/31/2015         107623          Fluticasone
                   GROW                                                                  $19,643
     5         G IN G ER LAY           B .V .        2/20/2015         109486          Loperam ide
                and
                I M ONTY                                                                 $7,014
                TAY G R O W
     6         M O N TY R AY          A .D .         2/23/2015        109699           Fluticasone
     7            GROW                                                                  $19,339
              G IN G ER LAY            J.F.          3/12/2015        106007           Loperam ide
               and M ONTY
               R                                                                         $7,007
                 AY G R O W
     8         M O N TY R AY          M .E.          5/7/2015         112673         Coenzm eQ-10
                  GROW                                                                      $7,181
         ln violation ofTitle 18, U nited States Code,Sections 1347 and 2.

                                         CO UN T 9
                    Conspiracy to Pay and R eceive H ealth Care K ickbacks
                                        (18 U.S.C.j371)
                The GeneralA llegations section ofthis Superseding lndictm entis re alleged and
                                                                                        -
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 10 of 28



    incorporated by referenceasthough fully setforth herein.

                  From in oraround July, 2014 through in oraround June, 2015,in M iam i-D ade and

   Brow ard Counties,in the Southern DistrictofFlorida, and elsewhere,the defendants
                                                                                                  ,

                                     M O N TY R AY G R O W and
                                           G IN G ER LAY ,
   did willfully,thatis, with the intentto furt
                                              herthe objectsofthe conspiracy          ,   and knowingly
   com bine,conspire,confederate and agree each other, Robin H alliburton
                                                                             ,   and others know n and
   unknow n to the Grand Jury, to com m itoffenses againstthe United States thatis:
                                                                             ,


                  to violate Title 42,United States Code, Section l320a-7b(b)(1)(A),byknowingly

   and w illfully soliciting and receiving rem uneration, including kickbacks and bribes directly and
                                                                                              ,

   indirectly,overtly and covertly, in cash and in kind, in retunzforreferring an individualto aperson

   forthe funzishing and arranging forfurnishing ofany item and service forw hich paym entm ay be

  m ade in w hole and in partundera Federalhealth care program , thatis,Tricare;and

           b.    to violate Title 42, United StatesCode,Section l320a-7b(b)(2)(B) by knowingly
                                                                                          ,

  and w illfully offering and paying rem uneration, including kickbacks and bribes directly and
                                                                                  ,

  indirectly,overtly and covertly, in cash and in kind,to a person to induce such person to purchase
                                                                                                                ,

  lease,order,and arrange forand recom m end purchasing, leasing,ordering,and arranging forand

  recom m ending purchasing, leasing,and ordering any good, facility,selwice,and item for which

  paym entm ay be m ade in w hole and in partundera Federalhealth care program thatis,Tricare.
                                                                              ,

                 to violate Title 42,United States Code, Section 1320a-7b(b)(2)(A),byknowingly

  and w illfully offering and paying any rem uneration, including kickbacks and bribes
                                                                                              ,   directly and
  indirectly,overtly and covertly, in cash and in kind, to a person to induce such person to referan

  individualto a person for the furnishing and anunging forthe furnishing of any item and service

  forw hich paym entm ay be m ade in w hole and in partby a Federalhealth care program
                                                                                                      ,   thatis,

                                                 10
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 11 of 28



    Tlicare.

                                       Purpose ofthe C onspiracv

           3.     ltw as a purpose ofthe conspiracy for the defendants and th
                                                                             eirco-conspirators to
   unlawfully enrich themselvesby:(a)soliciting and receiving kickbacksin retul'n for referring
   Tricare benetk iariesto orderand receive com pounded m edicatio
                                                                   nsfrom Company 1;(b)offering
   andpaying kickbacksto Tricarebeneficiariesandpatientrecnlitersin orderto induce prescription

   refenuls from beneficiaries for com pounded m edications to Com
                                                                      pany 1,
                                                                            '(c) submitting and
   causing the subm ission of claim s to Tricare for com pounded m edications to those Tricare

   beneficiaries;and (d)divertingproceedsofclaimsoftherecruitedandreferredbenetkiariesfor
   theirpersonaluse, the use and benefitofothers, and to furtherthe conspiracy.

                               M anner and M eans ofthe C onspiracv

          The nnanner and nneans by w hich the defendants and their co-conspirators sought to

  accomplishtheobjectsandpurposeoftheconspiracyincluded, am ong others,the follow ing:
                 M O NTY R AY G R O W and G IN G ER LA Y through M G TEN and M ED RX
                                                                                                       ,

  solicited and received approxim ately $20 million in kickbacksfrom Company 1in exchange for

  recnliting and refening Tricare beneficiaries to order and receive com pounded
                                                                                   m edications from
  Com pany 1,know ing thatCom pany 1w ould billTricare forcom pounded m edicationspum ortedly

  dispensed to the recruited and referred Tricare beneficiaries.

                 M O N TY R AY G RO W offered and paid kickbacksto patientrecnliters including
                                                                                         ,

  G IN GE R LA Y ,Robin Halliburton and othersknown and unknown to the Grand Jury,in exchange

  forrecruiting Tricarebeneficiarieswho agreed to orderand receive c
                                                                    om pounded m edicationsfrom
  Com pany 1.

                 M O NTY R AY G R O W and G ING E R L AY offered and paid kickbacks in the
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 12 of 28



    fonn of m oney and other rem uneration directly to Tri
                                                          care beneficiaries, including by paying
   beneficiariesto participate in sham patientsurveys to induee Tricare beneficiaries'to order and
                                                      ,


   receive com pounded m edicationsfrom Com pany 1.

                    M O NTY R AY G R O W and G ING ER LA Y offered and paid kickbacksindirectly

   in the form of m oney and other rem uneration to Tricare beneficiaries, including by paying

   beneficialies' kickbacks through im mediate family m ember
                                                             s, paying co-pays, or othelw ise
   instructing beneficiariesto ignore copay invoicesfrom Com pany 1.

                    M ONTY RAY GROW ,GINGER LAY and theirco conspirators caused Tricare
                                                                        -




   to pay Com pany l based upon com pounded m edications dispensed to th
                                                                        e recruited Tricare
   beneficiaries.

                    A s a result of these claim s, Tricare m ade paym ents to Company 1 in the

   approximateam ountof$40 m illion.

                                             O vertA cts
         In furtherance ofthe conspiracy, andtoaccomplishitsobjectsandpurpose,atleastoneof

  the co-conspirators com m itted and caused to be com m itted in the Southern D istrict of Florida
                                                              ,                                    ,

  and elsewhere,atleastone ofthe following overtacts, am ong others:

                 On or about Septem ber 16, 2016, G IN G E R LAY e-m ailed M O N TY R AY

  G RO W affinuingheragreem entto m ove forward with M O N TY R AY G RO W 'S
                                                                                    phannacyplan.
                On or about Septem ber 29, 2014,M O N TY R AY G R O W executed a consulting

  agreem entwith representatives of Com pany 1 in w hich he agreed to referpatients to Com pany 1

  in exchange for the paym entof 50% , m inus costs, of the insurance reim bursem ents for the

  beneficiariesreferred by M G TEN .

                On or about Decem ber 27, 2014, M O N TY R AY G R O W e-m ailed Tricare
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 13 of 28



   beneficiary N .P. aboutkickback payments she w ould receive in exch
                                                                      ange for ordering and
   agreeing to receive com pounded m edications from Com pany 1.

           4.     O n or about January 2, 2015, M O N TY R AY G R O W w ired M ED RX the

   approxim ateam ountof$127,790 aspaym entto GINGER LAY forherrecruitm
                                                                                    entand referral
   ofTricare beneficiaries to Com pany 1.

                  On or aboutJanuary 7, 2015,a co-conspiratorcaused prescription num ber 105809

   for Tricare beneficiary V .B.,w ho was recruited by an individual that w as paid a kickback b
                                                                                                   y
   M O N TY R AY G R O W in exchange for refening V .B .to Com pany 1
                                                                       ., to be ratified by a doctor
   located in M iam i-D ade County.

                  On or about January 20, 2015,M O N TY R AY G R O W paid a kickback in the

   approximate amountof$1,800 to Tricare beneficiary JC.to receive com pounded m edications
                                                            .



   from Com pany 1.

                 O n or about January 27, 2015, M O N TY ITA Y G R O W           e-m ailed Tricare
  beneficiary J.B.aboutpayingkickbackstoTricarebeneficiariesfororderstheym adefore
                                                                                  xpensive
  com pounded m edicationsfrom Com pany l.

         8.      On oraboutJanuary 30, 2015,M O N TY R AY G RO W caused Com pany 1to wire

  theapproxim ateamountof$1,206,817 aspaym entin exchange forhisrecruitm entand referralof
  Tricare beneficiariesto Com pany 1.

         9.      On or about February 18, 20l5,M O N TY R AY G R O W paid a kickback in the

  approximate amountof$1,680 to Tricarebeneficiary JC.in exchange for ordering com pounded
                                                        .



  m edication from Com pany 1.

                O n or about February 18, 2015,M ONTY ITAY GROW paid a kickback in the

  approxim ate am ountof$1,680 to Tricare beneficiary J.C.in exchange for ordering com pounded
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 14 of 28



   medication from Company 1.

           11.    O n or about February 22, 2015, Robin Halliburton e-m ailed
                                                                              M O N TY R AY
   GROW apatientintakefonn refening Tricarebeneficiary M .K .

          12.     O n or about February 23, 2015,M O N TY R A Y G R O W paid a kickback in the
                                                               .




   approxim ate amountof$1,750 to Tricare beneficiary JB.in exchange for herhusband's orderof
                                                           .



   com pounded m edication from Com pany 1.

                  On or about M arch 18, 2015,M O N TY ITAY G R O W paid a kickback in the

   approximate amountof$1,650 to Tricare beneticiary J C.in exchange for ordering com pounded
                                                           .



   m edication from Com pany 1.

                  On or aboutA pril 13, 2015,G IN GE R LA Y e-m ailed Tricare beneficiary BV a

   paid com pensation assessm entfonu requesting thathe com plete the ass
                                                                         essm entso thatshe could
   processhiskickback paym ent.

                 On or about April 22, 2015,M ONTY R AY GROW paid a kickback in the

  approxim ate amountof$900 to Tricare beneficiary J.C.in exchange for ordering com pounded
  m edication from Com pany 1.

         16.     On or about April 22, 2015, M O N TY ITAY G R O W paid a kickback in the

  approximate amountof$1,600 to Tricare beneficiary JC.in exchange forordering compounded
                                                       .



  m edication from Com pany 1.

                 O n or about A pril 28, 2015, M O N TY R AY G R O W paid a kickback in the

  approximateamountof$1,000 to Tricarebeneficiary M E.in exchange forordering com pounded
                                                       .



  m edication from Com pany 1.

         18.     O n oraboutM ay l9, 2015,M O N TY R AY G R O W caused Com pany lto wire the
                                                       .




  approxim ate amount of $690,733 as payment in exchange for his recruitm entand referral of


                                               14
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 15 of 28



    Tricarebeneficiariesto Company 1.

           19.    O n oraboutJune 26, 2015,co-conspiratorRobinHalliburtoncashedchecknum b
                                                                                                    ers

    10070 and l0071intheapproxim ateam ountof$9,853 aspaym entin exchange forherrecruitm ent
   and referralofTricarebeneticiariesto Company 1through M GTEN .

          A llin violation ofTitle 18, U nited States Code Section 371.
                                                          ,


                                        C O UN TS 10-33
            R eceiptofK ickbacks in C onnection w ith a FederalH ealth C are Program
                                     (42U.S.C.j1320a-7b(b)(1)(A))
                  The GeneralA llegations sedion ofthis Superseding Indictm entis refalleged and

   incorporated by reference as though fully setforth herein.

                  On or about the dates enum erated below , in Brow ard County in the Southem
                                                                              ,

   D istrict of Florida, and elsewhere, the defendants identified in each count
                                                                                 ,   did knowingly and
  w illfully solicitand receiveany rem uneration, thatis,kickbacksand bribes directly and indirectly
                                                                             ,                         ,

  overtly and covertly,in cash and in kind, including by w ire transfer as setforth below ,in retul'
                                                                                                   n
                                                                        ,

  for refening an individualto a person for the furnishing and anungi
                                                                    ng for the furnishing ofany
  item and service forw hich paym entm ay be m ade in whole and in partundera Federalhealth care

  program ,thisis,Tricare.

          Count                 D efendant               A pprox. D ate of            A pprox. Am t.
                                                        K ickback Paym ent             ofK ickback
            10                                                                           Pa m ent
                          M ONTY RAY GROW                       11/7/2014                $85,946

            11            M O NTY IIAY G ROW                    11/21/2014               $74 663
                                                                                            ,

           12            M ONTY RAY GROW                        12/9/2014                $210 763
                                                                                             ,

           13            M ONTY R AY G ROW                  12/18/2014                  $288 290
                                                                                             ,

           14            M ONTY RAY GROW                        1/2/2015                $732 974
                                                                                             ,
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 16 of 28



          C ount                D efendant                 A pprox. D ate of        A pprox.
                                                         K ickback Paym ent        A m ountof
                                                                                   K ickback
            15                                                                      Pa m ent
                              GINGER LAY                      1/2/2015              $127 790
                                                                                         ,


            16               G INGER LAY                      1/20/2015            $198017
                                                                                                 ,

            17           M ONTY RAY GROW                      1/20/2015            $436 490
                                                                                                 ,

            18           M O NTY RAY GROW                     1/30/2015            $1206,817
                                                                                     ,

            19               GIN GER LAY                      2/2/2015             $322 965
                                                                                                 ,

           20            M O NTY ITAY G RO W                 2/13/2015            $1,964,741

           21                GING ER LAY                     2/17/2015             $362 281
                                                                                             ,

           22            M O NTY R AY GROW                   2/27/2015            $2 322,451
                                                                                    ,


           23            M ONTY R AY GROW                    3/13/2015            $3,644,894

           24            M ONTY RAY GROW                     3/27/2015            $1630,903
                                                                                    ,

           25            M ONTY R AY GROW                    4/10/2015            $4 425,544
                                                                                    ,

           26           M ONTY ITAY GROW                     4/27/2015            $1832,268
                                                                                    ,


           27               GINGER LAY                       4/27/2015             $509 530
                                                                                             ,

           28           M ONTY RAY GROW                     5/19/2015             $690 733
                                                                                             ,

           29           M ONTY RAY GROW                     5/29/2015             $188 844
                                                                                             ,


          30            M O NTY ITAY GROW                   5/29/2015              $43 164
                                                                                         ,

          31            M ONTY ITAY GROW                    6/12/2015              $6 156
                                                                                        ,

          32            M O NTY R AY GRO W                  6/26/2015              $69 615
                                                                                         ,

          33            M ONTY RAY GROW                     6/29/2015              $60 360
                                                                                         ,



        ln violation of Title 42, U nited States Code,
                                                         Section 1320a-7b(b)(1)(A) and Title 18,
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 17 of 28



    United StatesCode, Section 2.

                                         CO U NT S 34-44
            Paym ent ofK ickbacks in C onnection w ith a FederalH ealth C
                                                                                are Program
                                    (42U.S.C.j1320a-7b(b)(2)(B))
                   The G eneralA llegations section of this Superseding Indictm entis re-alleged and

   incorporated byreferenceasthough fully setforth herein.

                   On or about the dates enum erated below , in Broward County in the Southenz
                                                                              ,

   D istrictof Florida, and elsewhere,the defendants, identitied in each count
                                                                                 ,   did know ingly and
   willfully offer and pay any rem uneration, thatis,kickbacks and bribes
                                                                           ,   directly and indirectly,
   overtly and covertly, in cash and in kind, including bywiretransfer assetforth below ,to aperson
                                                                     ,                                  ,

   to induce such person to purchase, lease, order, and arrange for and recom m end purchasing
                                                                                                        ,

   leasing,and ordering any good, facility,service and item forw hich paym entm ay be m ade in w hol
                                                                                                   e
   and in pal'tundera Federalhealth care program , thatis,Tricare.

          C ount                 D efendant              A pprox. Date of             A pprox. A m t.
                                                        K ickback O ffer or            ofK ickback
                                                             Paym ent                    O ffer or
            3                                                                           Paym ent
             4                GINGER LAY                     12/29/2014                   $500

            35                GINGER LAY                      1/9/2015                    $500
            36            M ONTY R AY GROW                   1/20/2015                   $1800
                                                                                            ,

            37            M O NTY ITAY GROW                  2/18/2015                   $1680
                                                                                            ,

            38            M ONTY R AY GROW                   2/18/2015                   $1680
                                                                                            ,

            39            M ONTY ItAY GROW                  2/23/2015                    $1 750
                                                                                            ,

           40            M ONTY R AY GRO W                  3/18/2015                    $3 400
                                                                                           ,

           41            M ONTY ITAY GROW                   3/18/2015                    $1650
                                                                                           ,

           42                GING ER LAY                    4/13/2015                     $500
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 18 of 28



           C ount                  D efendant              A pprox.D ate of       A pprox. A m t.
                                                         K ickback O ffer or       ofK ickback
                                                              Paym ent               O ffer or
             43                                                                     Paym ent
                           M ONTY RAY GROW                    4/22/2015                $900
            44             M ONTY R AY GROW                   4/22/2015               $1
                                                                                        ,600

          ln violation of Title 42, U nited States Code,
                                                           Section 1320a-7b(b)(2)(B) and Title
   United States Code,Section 2.

                                         C O UN TS 45-49
                                        M oney L aundering
                                         (18U.S.C.5 1957)
         On or about the dates specified below , in Brow ard County in the Southenz District of
                                                                   ,

   Florida,and elsewhere, M O N TY R AY G R O W , assetforth in each countbelow
                                                                                , di
                                                                                   d know ingly
   engage and attem pt to engage in a m onetary transaction affecting interstate com m erce
                                                                                           , by,

   through and to a financialinstitution in crim inally derived pro
                                                                  perty greaterthan $10,000,and
   such property having been derived from specified unlaw fulactivity.

                  C ount               A pprox. D ate           D escription ofFinancial
                                                                      Transaction
                   45                    2/3/2015             Purchase of Cashier's Check #
                                                              0884102530 in theapproxim ate
                                                             amount $105,545 with funds
                                                             from M O N TY R AY G R O W 'S
                                                             Bank of A m erica account no.
                                                             ending in 6597,m ade payable
                                                             to K esslerA uto Group, lnc.for
                                                             the purchase of a 2014 Porsche
                                                             911




                                                18
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 19 of 28



                  C ount                  Approx. D ate            D escription ofFinancial
                                                                         Transaction
                    46                      5/22/2015           Transfer in the a
                                                                                   pproxim ate
                                                                amount of $90,478 to Land
                                                                 Rover of N aples via check no.
                                                                 1005 draw n on M G TEN 'S
                                                                Bank of Am erica account no.
                                                                ending in 4176 forthepurchase
                                                                of2014 Range Rover
                    47                      3/4/2016            W ire Transfer in the
                                                                approxim ate     am ount of
                                                                $250,000 drawn on M GTEN 'S
                                                                Bank of A m erica account no.
                                                                ending in 6597 and payable to
                                                                an Am eritrade investm ent
                                                                account
                   48                       3/5/2016            W ire Transfer in             the
                                                                approxim ate am ount           of
                                                                $1,539,815         drawn      on
                                                               M G TEN 'S Bank of A m erica
                                                               accountno.ending in 4397 and
                                                               payable to D H lTitle ofFlorida
                                                               for the purchase of 5803
                                                               M ariner Street,Tam pa, Florida
                   49                      4/5/2016            Transfer in the approxim ate
                                                               amountof$24,521to Barney's
                                                               M otorcycles via check no. 115
                                                               draw n on M O N TY R AY
                                                               G R O W 'S Bank of A m erica
                                                               account no.ending in 6597 for
                                                               the purchase tw o personal
                                                               w atercraft.

         ltis further alleged thatthe specified unlaw fulactivity ishealth care fraud in violation of

  Title 18, United States Code, Section 1347 and the solicitation and receipt of kickbacks in

  connection w ith a Federalhealth care benefitprogram , in violation ofTitle 42
                                                                               ,   United States Code,
  Sections1320a-7b(b)(1)(A).
         ln violation ofTitle l8, United States Code, Section 1957.


                                                 19
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 20 of 28




                                           C O U N TS 50-51
                       C ausing The M isbranding O fD rugs W hile H eld For Sale
                                   (21U.S.C.jj331(k)and 333(a)(1))
           On or about the dates set forth below , in Brow ard County in the Southern D istrict of
                                                                     ,

   Florida,and elsew here, the defendant,

                                         M O N TY R AY G R O W ,
   causedtobedispensedprescriptiondrugswithouttheprescriptionofapractitionerlicensedby law

   to adm inisterthe drugs, w hile the drugsand com ponents ofthese prescription dnzgs w
                                                                                            ere held for
   saleand afterthedrugshad been shipped in interstatecom merce which actsresulted in the dnlgs
                                                               ,

   being misbranded within them eaning ofTitle21, United States Code
                                                                           ,   Section353(b)(1),each
   dispensing constituting a separate and distinctcount:


           Count Rx N o. A         rox. D ate          Prescri tion Dru Dis ensed

             50      107365       1/28/2015     Flurbi rofen dis ensed to RR in Jacksonville,FL

             51      107666       2/2/2015      Flurbi rofen dis ensed to RR in Jacksonville,FL

          In violation ofTitle 2 1, U nited States Code, Sections331(k)and 333(a)(1),and Title l8
                                                                                                        ,

  U nited States Code,Section 2.

                                              FO RFEITUR E
                            (18U.S.C.j982(a)(7);18U.S.C.j982(a)(1))
                  The allegations ofthis Superseding lndictm entare re- alleged and incorporated by

  reference asthough fully setfol'
                                 th herein forthepurpose ofalleging forfeiture to the United States

  ofcertain propel'ty in w hich eitherofthe defendantshave an interest.

                  U pon conviction of a t'Federalhealth care offense,'' as defined in Title 18
                                                                                              ,   U nited
  States Code,Section 24, asalleged in Counts 1 through 37 and 43 through 52 ofthisIndictm ent
                                                          ,
                                                                                              ,

  the defendant shall forfeit to the United States of A m erica,
                                                                   pursuant to Title l8, United States


                                                  20
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 21 of 28



   Code,Section982(a)(7),anyproperty, realorpersonal,thatconstitutes, orisderived,directly or
   indirectly,from grossproceedstraceableto the comm ission ofsuch offense.

                  Upon conviction ofa violation ofTitle 18, United States Code Section 1957
                                                                              ,            , as

   alleged in Counts 38 through 42 ofthis lndictm ent the defendantshallforfeitto the United States
                                                     ,

   of Am erica,pursuant to Title 18, United States Code
                                                          ,   Section 982(a)(1),any property,realor
   personal,involved in such violation, or any propel'
                                                     ty traceable to such property.

          4.     The property which is subjectto forfeiture includes, but is notlim ited to, the
   follow ing:

                 RealPropertv:

                 (a)     The realproperty known and numbered as5803 MarinerStreet, Tam pa,
   Florida,together w ith al1 improvem ents, appurtenances,attachm ents, and fixtures thereon and

  therein;

                 Bank A ccounts:

                 (b)    Allprincipal,deposits,interest, dividends,and other am ounts credited to
  accountnum ber229042044397 held atBank ofAm erica, N .A .in the nam e ofM G TEN M arketing

  Group,upto$19,536,743.31(US);
                        A l1 principal,deposits, interest,dividends, and other am ounts credited to

  accountnum ber898067684176 held atBank ofA m erica, N .A .in the nam e ofM GTEN M arketing

  Group,upto $19,536,743.31(US);
                        A 1lprincipal,deposits, interest,dividends, and other am ounts credited to

  accountnum ber229019916597 held atB ank ofA m erica, N .A .in the nam e ofM onty Grow
                                                                                            ,   up to
  $9,604,980.96(US);
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 22 of 28



                        Allprincipal,deposits, interest,dividends, and other am ounts credited to

   accountnumber 869-914682 held at TD Am eritrade in the name of M onty Ray G row ,up to

   $3,000,000(US);
                A utom obiles:

                        One(l)2014 LandRover/RangeRover(VlN:SALW R2TF6EA395081);
                (g)     One(1)2014Porsche/gl1(VlN:W P0AB2A92ES120563)4
                W atercraft:

                (h)    One(1)2016YamahaPersonalW atercraft(V1N:YAMA0375C616);
                (i)    One(1)2016YamahaPersonalW atercraft(VlN:YAM A0318C616);
                Forfeiture M oney Judmnents:

                U)     A sum ofmoney equalin value to the property, real or personal, that
        constitutes,orisderived,directly orindirectly, from grossproceedstraceabletotheFederal

        health care offenses alleged in this Indictm ent, w hich the U nited States of A m erica will

        seek asaforfeiture moneyjudgmenttobeimposed againstthe defendantaspartofhis
        sentence;and

               (k)     A sum ofmoney equalin valuetotheproperty, realorpersonal,involved
        in theviolationsofTitle l8, United StatesCode, Section 1957,asalleged in thislndictm ent
                                                                                                   ,

        or any propel'
                     ty traceable to such property, w hich the United States ofA m erica w illseek

        asaforfeituremoneyjudgmenttobeimposedagainstthedefendantaspal4ofhissentence               .



        A1lpursuantto Title l8, UnitedStatesCode,Section 982(a)(7),Title 18 United States
                                                                                ,
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 23 of 28



         Code,Section982(a)(1),Title18,UnitedStatesCode, Section 981(a)(1)(C).

                                                       A TRUE BILL




     l                I
                       LX t                           FOREPERSON
   R AN DY HU M M EL            %
   A TTO RN EY FOR THE UN ITED STATES




   KEV    .LAR SEN
   A S STAN T U N ITED STA TES A TTORN EY
 Case 1:16-cr-20893-FAM DocumentUNI
                                 37TEDEntered
                                      STATES DISTRI
                                                  CT COURT
                                               on FLSD  Docket 08/29/2017 Page 24 of 28
                                                 SOUTHERN DISTRICT OF FLORIDA

   UNITED STATES O FAM ERICA
                                                      CASE NO.                 16-20893-CR-M ORENO
  VS.

  M ONTYRAYGROW and
                                                      CERTIFICATE O F TRIAL ATTO RNEY*
  GINGER RAY,

                      Defendants.
                                             /        Superseding Case lnform ation:

  CourtDivision:(selectone)                           New Defendantts)                         Yes
                                                     Num berofNew Defendants                         -   Z-       No
    X     M iam i             Key W est                                                                  1
                                                     Totalnum berofcounts
          FTL                 W PB          FTP
          Idoherebycertifythat:
                    lhave carefully considered the allegations ofthe indictment,the num berofdefendants
                    probablew itnessesandtheIegalcom pl                                                , the num ber of
                                                          exitiesofthelndictment/lnformationattachedhereto.
                    1am awarethattheinformation supplied onthi sstatementw illb
                    settingtheircalendarsandschedul                            e rel
                                                  ingcrim inaltrialsunderthe manda ti
                                                                                    eed
                                                                                      ofupon
                                                                                        th bytheJudgesofthisCourtin
                    Section 3161.                                                         eSpeedyTrialAct,Title 28 U.S.C.

         3.         lnterpreter: (YesorNo)            NO
                    ListIanguageand/ordialect
                    Thiscase w illtake 11 daysforthe partiesto try.
                    PleasecheckappropriatecategoryandtypeofoffenseIisted below :

                                                                         (Checkonlyone)
                    0to 5days                                                      Petty
                    6 to 10 days                      X                            M inor
                    11 to 20 days                                                  Mi sdem .
                    21to 60 days                                                   Felony
                    61 daysand over                                                                           X

        6.      Hasthiscasebeen previousl
                                        yfiled inthisDistrictCourt?
        lfyes:                                                      (YesorNo)           YES
        Judge:M ORENO                                   Case N
        (Attachcopyofdispositi
                             veorder)                          o.      16-20893-CR-M ORENO
        Ha sa:complaintbeenfiled inthismatter?
        Ifyes                                                (YesorNo)               NO
        M agistrate Case No.
        Related M iscellaneousnum bers:
        Defendantts)infederalcustodyasof
        Defendantts)in statecustody asof
        Rule20from the                                       Dlstricto
        Isthisapotenti
                     aldeathpenaltycase?(YesorNo)              Np
                Doesthiscaseoriginatefrom am atterpending in theNorthern Region ofthe U
                October14, 2003:2             Yes       X      No                      .S.Attorney'sOffice priorto


                Doesthiscase originate from a m atterpending in the CentralRegion ofthe U .
                Septem ber1, 2007?               Yes       X     No                        S.Attorney's Office priorto

                                                                           Z


                                                            KEVI . ARSEN
                                                            AS TANT UNITED STATES AU ORNEY
                                                            CourtID No.A5501050
*penaltySheetts)attached
                                                                                                                       REv4/8/08
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 25 of 28



                              U N ITED STAT ES D ISTR IC T CO UR T
                              SO U TH ERN DISTR IC T O F FLO RID A

                                         PEN A LTY SH EET
    D efendant's N am e:M ON TY R AY G ROW

    Case N o:     l6-20893-CR-M OREN O

    Count#:1

    Conspiracy to Defraud the United Statesand Pav and Receive H ealth Care Kickbacks

   Title 18-United StatesCode. Section 371

   *M ax.Penalty:        Five(5)years'imprisonment
   Count#:2-8

   H ealth Care Fraud

   Title 18 United StatesCode, Section 1347

   *M ax.Penalty:       Ten(10)years'implisonmentastoeachcount
   Count#:9

   Conspiracyto Pay and Receive Hea1th CareKickbacks

   Title 18 U nited StatesCode. Section 371

   *M ax.Penalty:       Five(5)years'implisonment

  Counts#:10-14, 17,18,20,22-26,28-33

  ReceiptofKickbacksin Connection with aFederalHea1th CarePromum

  Title 42 U nited StatesCode- Section 1320a-7b(b)(1)(A)

  *M ax.Penalty:        Five(5)years'imprisonment



   *R efers only to possible term ofincarceration, does notinclude possible fines restitution,
                                                                                  ,
            specialassessm ents,parole term s, or forfeitures that m ay be applicable.
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 26 of 28



    Counts#:36-41, 43,44

    Pavm entofKickbacks in Connedion w ith a FederalHealth Care Program

    Title 42 United States Code. Section 1320a-7b (bà(1b(A)à

    *M ax.Penalty:      Five(5)years'imprisonment


   Counts#'
          .45-49

   A4oney Laundedng

   Title 18,United StatesCode. Section 1957

   *M ax.Penalty:       Ten(10)years'imprisomnentastoeach count
   Counts#:50-51

   Causinc the M isbrandinc ofDnzcsW hile Held forSale

   Title 21.United StatesCode. Section 331(k)and 333(a1(1)

   *M ax.Penalty:      One(1)yearimprijonmentastoeachcount




   *Refers only to possible term ofincarceration, doesnotinclude possible fines
                                                                               ,restitution,
           specialassessm ents,parole term s,or forfeituresthatm ay be applicable
                                                                                 .
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 27 of 28



                             U NITED STA TES D ISTR IC T CO UR T
                             SO U TH E RN D ISTR ICT O F FLO RID A

                                        PEN A LTY SH EET

   D efendant'sN am e:GIN GER LAY

   Case N o:     16-20893-CR-M OREN O

   Count#:1

   Conspiracv to Com m itHea1th Care Fraud and W ire Fraud

   Title l8.United States Code, Section 1349

   *M ax.Penalty:        Twenty(20)years'imprisonment
   Counts#24-6

   H ealth Care Fraud

   Title 18 United StatesCode, Section 1347

   *M ax.Penalty:       Ten(10)years'imprisonmentastoeach count
   Count#:9

   Conspiracvto Pav and ReceiveHealth CareKickbacks

   Title 18 United StatesCode. Section 371

   *M ax.Penalty:        Five(5)years'imprisonment
  Counts#:15,16,19,21, 27

  ReceiptofK ickbacksin Connection w ith a FederalHealth Care Program

  Title 42 U nited States Code. Section 1320a-7b(b)(1)(A)1

  *M >x.Pepalty:        Five(5)years'imprisopmçnt




   WR efers only to possible term ofincarceration, does notinclude possible fines
                                                                                 , restitution,
            specialassessm ents,parole term s,or forfeitures that m ay be applicable.
Case 1:16-cr-20893-FAM Document 37 Entered on FLSD Docket 08/29/2017 Page 28 of 28



   Counts #:34,35, 42

   Paym entofK ickbacksin Corm ection w ith a FederalH ealth Care Promum

   Title 42 U nited States Code. Section 1320a-7b (b)(2)(B)

   *M ax.Penalty:       Five(5)years'imprisonmentastoeachcount




   WRefersonly to possible term ofincarceration, doesnotinclude possible fines restitution,
                                                                               ,
           specialassessm ents,parole term s, or forfeituresthatm ay be applicable.
